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Attorney for Defendant Canovas y

IN THE UNITED STATES DISTRIC'I` COURT '

FOR THE TERRITORY OF GUAM

UNITED STATES OF AMERICA, CRIMINAL CASE NO. 06-00008

Plaintiff,

vs.
ORDER

JONATHAN E. CANOVAS
Defendant.

 

Based on the defendant’s motion to continue sentencing date herein,
IT IS HEREBY ORDERED that the sentencing date of Jonathan E. Canovas, currently
scheduled for September 20, 2006, be continued to Tuesday, October lO, 2006, at 10300 a.m.

Dated this 18th day of September 2006.

'*`

A<IMIN V.E. MANIBUSAN,
United States Magistrate Judge

District Court of Guam

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